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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION




LUIS CARLOS PARRA ALAMIA,

         Petitioner,

v.                                                                        CASE NO. 8:06-CV-2322-T-30EAJ
                                                                              CRIM. NO. 8:04-CR-475-T-30EAJ
UNITED STATES OF AMERICA,

      Respondent.
______________________________/

                                                      ORDER

         Petitioner has filed a Notice of Appeal (Dkt. 14) of this Court's June 18, 2007 decision

denying his motion for relief under 28 U.S.C. § 2255 (Dkt. 12), which the Court construes

as an application for a certificate of appealability (“COA”) pursuant to Rule 22, Fed. R. App.

P.,1 and 28 U.S.C. §22532 (Dkt. 15), see Edwards v. United States, 114 F.3d 1083, 1084 (11th

Cir. 1997). Petitioner did not pay the $455.00 appellate filing fee and costs or file a request

for leave to proceed in forma pauperis.

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                  "Certificate of Appealability. (1) In a . . . 28 U.S.C. §§ 2255 proceeding, the applicant cannot take
an appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28 U.S.C.
§§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must either issue a
certificate of appealability or state why a certificate should not issue. . . . If no express request for a certificate is
filed, the notice of appeal constitutes a request addressed to the judges of the court of appeals." Rule 22, Fed. R.
App. P.
         2
           "[I]n . . . a proceeding under section 2255 . . , the final order shall be subject to review, on appeal, by the
court of appeals for the circuit in which the proceeding is held. . . . (c)(1) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be taken to the court of appeals from -- . . .(B) the final order in a
proceeding under section 2255. . . . (2) A certificate of appealability may issue . . . only if the applicant has made a
 substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c).
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         The Court addressed Petitioner’s claims on the merits. While issuance of a COA does

not require a showing that the appeal will succeed, see Miller-El v. Cockrell, 537 U.S. 322,

336-37 (2003), under the controlling standard, a petitioner must demonstrate that reasonable

jurists would find the Court's assessment of the petitioner’s constitutional claims debatable

or wrong. See Slack v. McDaniel, 529 U.S. 473, 484 (2000); Eagle v. Linahan, 279 F.3d

926, 935 (11th Cir. 2001). Petitioner has failed to make this threshold showing. See Slack,

529 U.S. at 485.

         ACCORDINGLY, the Court ORDERS that Petitioner's Notice of Appeal, which is

construed as an application for issuance of a certificate of appealability (Dkt. 15), is

DENIED.

         DONE and ORDERED in Tampa, Florida on July 25, 2007.




Copy furnished to:
All Parties of Record

SA:sfc




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